                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                                               :       No. 1:21-cr-175-1 (TJK)
           v.                                  :
                                               :
                                               :
ETHAN NORDEAN,                                 :
                                               :
                       Defendant.              :

   GOVERNMENT’S OPPOSITION TO DEFENDANT NORDEAN’S MOTION FOR
            RULE 15 VIDEO DEPOSITION OF EDDIE BLOCK


       Nordean has moved the Court to order a deposition of potential witness Eddie Block during

the week of December 26, 2022. ECF 599. Because Nordean has not met his burden of

demonstrating that exceptional circumstances necessitate the preservation of Mr. Block’s

testimony, that motion should be denied.

                                     LEGAL FRAMEWORK

       The Court may grant a motion for a deposition pursuant to Fed. R. Crim. P. 15 “because of

exceptional circumstances and in the interest of justice.” Fed. R. Crim. P. 15(a)(1). “Furthermore,

the party seeking the deposition bears the burden of demonstrating that ‘exceptional

circumstances’ necessitate the preservation of testimony through a deposition.” United States v.

Kelley, 36 F.3d 1118, 1124 (D.C. Cir. 1994). “Critical factors toward meeting this burden include

(1) the materiality of the testimony; and (2) the unavailability of the witness to testify at trial. Id.

Moreover, there is typically some showing, beyond ‘unsubstantiated speculation,’ that the

evidence exculpates the defendant.” Id. (citation omitted; citing United States v. Ismaili, 828 F.2d

153, 159 (3d Cir.1987)).
       The admissibility of a Rule 15 deposition at trial is governed by Federal Rule of Evidence

804. Rule 804(b)(1) provides that, notwithstanding the general rule against hearsay, the Court may

admit “former testimony” given at a “lawful deposition” so long as (a) “the declarant is unavailable

as a witness” at trial and (b) the adverse party had “an opportunity and similar motive to develop”

the testimony through cross-examination. A declarant is considered “unavailable” if, among other

possible reasons, he “is absent from the trial or hearing and the statement’s proponent has not been

able, by process or other reasonable means, to procure . . . the declarant’s attendance.” Fed. R.

Evid. 804(a)(5)(A).

                                  FACTUAL BACKGROUND

       On January 6, 2021, Eddie Block was in Washington, D.C., riding on a motorized

wheelchair, filming four of the five defendants in this case and scores of other members of the

Proud Boys as they marched from the Washington Monument to the Capitol. In the hours of

footage Mr. Block filmed, there is no indication of a St. Bernard service dog (or indeed any dog).

While filming, Mr. Block crossed into the restricted area of the U.S. Capitol Grounds on January

6, 2021. He remained in the restricted area until well after sundown, and he was one of the

individuals removed from the restricted area by police.

       On January 4, 2021, Mr. Block sent a “selfie”-style video of himself on an airplane to a

Proud Boys group chat, saying, “see you in DC in a couple of hours.” Based on this video and

Mr. Block’s references during the videos he filmed on January 6 to the fact that the motorized

scooter he was riding was a rental, the government believes Mr. Block traveled to Washington,

D.C. by plane as recently as two years ago. Mr. Block’s YouTube page, “Eddie Block Films,”

also contains videos shot during the December 12, 2020 rally in Washington, DC, indicating that




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he made another cross-country trip less than a month before his visit in January 2021. See, e.g.,

“Proudboys March on DC…,” available at https://www.youtube.com/watch?v=8cGSX0z70Lk.

           The government does not dispute the authenticity of the videos it recovered from Mr.

Block’s devices in the course of executing a search warrant in January 2021, and in fact it intends

to introduce portions of them into evidence.

                                             ARGUMENT

           I.     Nordean Has Not Established Unavailability

           Nordean’s proffer of Block’s physical limitations does not establish his unavailability such

that exceptional circumstances require the preservation of his testimony through a deposition. The

standard for unavailability is governed by Fed. R. Evid. 804(a). See, e.g., United States v. Vo, 53

F. Supp. 3d 77, 81 (D.D.C. 2014) (Friedman, J.). The government does not dispute that Mr. Block

is disabled, uses a wheelchair, and lives in California. It does dispute whether that status renders

Mr. Block—who traveled to the District of Columbia by airplane just two years ago with the same

apparent physical limitations to participate in and film the Proud Boys’ march to the Capitol—

likely to be unavailable for trial. Although Nordean represents that “Block asserts that he must be

accompanied at all times by a therapy dog,” Nordean makes no representation as to what condition

leads to that assertion by Mr. Block or, to put a finer point on it, what changed between January 6,

2021, when Mr. Block apparently had no such need during a trip to our nation’s Capital, and

today. 1



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        Nordean makes no representation as to whether the “therapy dog” is a service dog. As a
general matter, according to the U.S. Department of Transportation, airlines may not refuse
transport to a service dog, although some exceptions exist if the service dog is too large or heavy
to be accommodated in the cabin. See https://www.transportation.gov/individuals/aviation-
consumer-protection/service-animals (last visited December 23, 2022). Nordean does not
represent whether the common-carrier prohibition he references (at 3) refers to service animals or
pets. It appears that at least some airlines are willing to work with passengers if a service animal
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       Nor does Nordean proffer why any human assistant who may be necessary could not

accompany Mr. Block to Washington for testimony or why whatever functionality the St. Bernard

provides cannot be provided by the human assistant. He similarly does not proffer what, if

anything, changed in that regard between January 6, 2021, and today. Mr. Block is subject to the

Court’s subpoena power, and although his attendance at trial may present some logistical hurdles,

those hurdles do not rise to the level of unavailability.

       The government’s view that Mr. Block is likely to be available for trial is supported by

Nordean’s representations as to what Block told him.           First, as Nordean concedes, Block

represented previously that he would not have any difficulty in traveling to the courthouse for trial

long before Nordean served him with a subpoena on December 14, 2022. It was only in apparent

response to a forthcoming subpoena that Mr. Block changed his tune. See ECF 599 at 3. Second,

even assuming arguendo that Mr. Block truly must travel with his St. Bernard—whom he

apparently needs on the airplane and in hotel rooms, but not in the courthouse—and that Mr. Block

cannot take the dog on an airplane, Nordean’s motion concedes that Mr. Block can in fact drive

cross-country with both the dog and his assistant. Id.

       And, while the government agrees that as a general matter, the proponent of a deposition

satisfies the unavailability requirement if a “substantial likelihood” exists that the witness will not

be available at trial, see Vo, 53 F. Supp. 3d at 81, the timing here counsels against granting a Rule

15 deposition. This is not the case where a Rule 15 deposition is taken months ahead of trial on

belief that a particular witness might be rendered unavailable by illness or death. Here, Nordean’s

request for a deposition was made after the beginning of voir dire and within a couple of weeks of



is too large. For example, American Airlines suggests that passengers rebook on a flight with
more open seats or buy a ticket for the service dog. See https://www.aa.com/i18n/travel-
info/special-assistance/service-animals.jsp (last visited December 23, 2022).
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likely opening statements. Mr. Block is available for trial now, and almost certainly would be

available in a few weeks’ time. Accordingly, the Court should not order the parties to invest time

and money into a deposition on the mere chance that Mr. Block will be rendered unavailable in

the near future. See United States v. Dragoul, 1 F.3d 1546, 1555 (11th Cir. 1993) (“The court need

not, at the cost of time and money, engage in an act of futility by authorizing depositions that

clearly will be inadmissible at trial”).

        The cases cited by Nordean regarding witnesses with infirmities are inapplicable to Mr.

Block’s situation. The witnesses in United States v. Keithan, 751 F.2d 9 (1st Cir. 1984) were so

infirm as to be confined to their home, a fact Nordean did not mention in his brief. Id. at 12; ECF

599 at 2. Those in United States v. Whitlow, 2014 U.S. Dist. LEXIS 133436 (D. Neb. 2014) were

unable to travel “without enduring substantial and prolonged pain.” Id. at *28. The physician who

treated the pregnant witness in United States v. Dumas, 1991 U.S. Dist. LEXIS 18289 (E.D. Pa.

1991) “certified that she [would] be unable to travel” during the time period that covered the trial.

Id. at *2. There is no such certainty, or even proffered likelihood, with regard to Mr. Block. 2 The




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         It is unclear on what basis Nordean claims, citing the above cases, that Mr. Block’s
infirmities are “far more challenging to manage than those which courts have found sufficient to
permit Rule 15 depositions,” ECF 599 at 6, given that all of those cases involved witnesses who
(1) could not leave their homes, (2) could not travel without prolonged pain, or (3) had a treating
physician attest to their inability to travel. Nordean also attempts to attribute some malfeasance to
the government for “not commit[ting] to finding some means of ensuring Mr. Block’s attendance
at trial.” Id. at 5. Setting aside that Nordean did not ask the government whether it was willing to
so commit, the burden here rests with Nordean to demonstrate exceptional circumstances to justify
a deposition, and he has not made any representations as to what he may have done to attempt to
secure Mr. Block’s attendance at trial, including whether he has made any application to the Court
for CJA funds.

       Similarly, Nordean asks to schedule the deposition because it “poses no material burden to
the government.” Id. at 9. That is not the standard. The defendant must demonstrate exceptional
circumstances. In any event, should the Court order a deposition, Government counsel would be
required to spend time preparing for an engaging in a deposition that is unlikely to be admissible
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circumstances in Nordean’s motion are more analogous to those in United States v. Jefferson, 594

F. Supp. 2d 655, 666 (E.D. Va. 2009), in which Judge Ellis found that a defendant had not

established unavailability where that defendant had not proffered that a witness subject to the

Court’s subpoena power “cannot be served or will refuse to comply with the subpoena once

served.” In short, Mr. Block is subject to the Court’s subpoena power, and the defendant has not

proffered that Mr. Block is unable to comply with the subpoena. His motion should consequently

be denied.

       II.     Nordean Has Not Established Materiality

       Even if Mr. Block were likely to be unavailable as defined by Fed. R. Evid. 804(a),

Nordean has not established materiality of his proffered testimony. 3 As Nordean’s motion

concedes, Mr. Block took hours’ worth of footage on January 6, 2021. To the extent it can be

authenticated—and the government has no plans to claim the footage it recovered from Block’s

devices is inauthentic—and is otherwise admissible, the footage is available to Nordean.

Accordingly, authentication of the footage does not meet the materiality threshold for ordering a

Rule 15 deposition, nor does any of the statements captured by the footage. Nor does the

defendant’s conclusory statement that “Block’s testimony is therefore required to relate those

material moments not caught on film” establish materiality where he does not proffer what those



at trial for the reasons stated above, which is in fact a material burden after trial has commenced.
Nordean has not come close to establishing exceptional circumstances warranting a deposition.
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        Nordean contends without citation or argument, see ECF 599 at 4, that the government has
somehow “recognized” the materiality of Block’s testimony for Rule 15 purposes by having listed
him as a potential witness on its witness lists, the first of which was due in August 2022. This is
nonsense. As the Court knows, Mr. Block took hours of footage. The government listed Mr.
Block in case his testimony was required to authenticate that footage (and as noted, neither the
government nor, apparently, the defense—given its desire to admit the footage—will be contesting
authenticity of the footage recovered from Mr. Block’s devices), but that possibility does not lead
to a concession of materiality for Rule 15 purposes.
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moments are or what Mr. Block would testify about them. See ECF 599 at 4. Nordean similarly

does not proffer how Mr. Block’s testimony as someone who was allegedly “well positioned to

illuminate whether a close observer’s memories of the [Proud Boys’ march to the Capitol] are

consistent with the government’s allegations” is (1) admissible, or (2) even assuming it is, that it

was unavailable to him from any of the other scores of people involved in the march.

       Nordean has additionally not proffered that Mr. Block is willing to submit to a compelled

deposition. Mr. Block entered the restricted area of the Capitol grounds on January 6, 2021.

Should the Court be otherwise inclined to order a deposition, the government requests that the

Court inquire of Mr. Block’s counsel, Gregory English, Esq., whether Mr. Block intends to assert

a Fifth Amendment Privilege prior to ordering the parties to spend the resources to prepare for a

deposition.




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                                       CONCLUSION

       For the foregoing reasons, Nordean has failed to establish exceptional circumstances

warranting a Rule 15 deposition, and his motion should be denied.

                                            Respectfully Submitted,
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